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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION


PHILECIA BARNES,                                          :
                                                          :
                  Plaintiff(s)                            :
                                                          :    Case Number: 1:00cv780
         vs.                                              :
                                                          :    District Judge Susan J. Dlott
CITY OF CINCINNATI,                                       :
                                                          :
                  Defendant(s)                            :

                                      JUDGMENT IN A CIVIL CASE


        Decision by Court: This action came to trial or hearing before the Court. The issues have
been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED

. . . that the motion to stay the Court’s ruling on attorneys’ fees is DENIED, and the Court
awards Barnes’ counsel $527,888.37 in attorneys’ fees and $25,837.36 in costs. The City’s
motion to stay the judgment pending appeal is GRANTED as to the monetary judgment and
DENIED as to the injunctive relief.




2/27/04                                                                 JAMES BONINI, CLERK


                                                                        ___s/Stephen Snyder______
                                                                        Deputy Clerk


Pursuant to S. D. Ohio Civ. R. 79.2(a) and (b), all models, diagrams, depositions, photographs, x-rays and other
exhibits and materials filed or offered in evidence shall be withdrawn by counsel without further Order within six (6)
months after final termination of the action. All materials not withdrawn shall be disposed of by the Clerk as waste.
